Case 1:19-cv-00578-JMS-RT Document 113-2 Filed 08/31/21 Page 1of2 PagelD.1039

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF HAWAII

TODD YUKUTAKE and DAVID CIVIL NO. 19-00578 JMS-RT

KIKUKAWA,
DECLARATION OF KENDALL J.
Plaintiffs, MOSER; EXHIBITS “A”-“B”

VS.
CLARE E. CONNORS, in her
Official Capacity as the Attorney

General of the State of Hawaii,

Defendant.

DECLARATION OF KENDALL J. MOSER

Pursuant to 28 U.S.C. § 1746, I, KENDALL J. MOSER hereby declare that:

1. I am a Deputy Attorney General and one of the attorneys representing
Defendant CLARE E. CONNORS, in her Official Capacity as Attorney General of
the State of Hawaii, in the above-entitled case.

2. I conferred by telephone with ALAN ALEXANDER BECK, attorney
for Plaintiffs TODD YUKUTAKE and DAVID KIKUKAWA, on August 26, 2021
regarding a possible stay pending appeal, but no agreement was reached.

3. Attached as Exhibit “A” is a true and correct copy of an article by
Don Thompson from the Associated Press dated April 11, 2019. See Don

Thompson, Gun groups: Million-plus extended magazines flood California,
Case 1:19-cv-00578-JMS-RT Document 113-2 Filed 08/31/21 Page 2 of 2 PagelD.1040

Associated Press (April 11, 2019), https://apnews.com/article/Qa5da7c4bb

b74156944fe2317dedc88c.

4. Attached as Exhibit “B” is a true and correct copy of Duncan v.
Becerra, Case No. 17-cv-1017-BEB-JLB, 2019 WL 1510340 (S.D. Cal. April 4,
2019) (Order Staying in Part Judgment Pending Appeal).

I declare under penalty of perjury that the foregoing is true and correct.

Executed in Honolulu, Hawaii, on August 31, 2021.

/s/ Kendall J. Moser
KENDALL J. MOSER

